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10
11                               UNITED STATES DISTRICT COURT
12
                              NORTHERN DISTRICT OF CALIFORNIA
13
14
15    CYBOENERGY, INC.,                                 Case No.: 3:21-cv-08534-SI

16                              Plaintiff,
          v.                                            UNOPPOSED MOTION TO DISMISS
17                                                      CLAIMS ASSERTED FOR U.S. PATENT
18    NORTHERN ELECTRIC POWER                           NO. 9,331,489
      TECHNOLOGY, INC.,
19
                               Defendant.
20
21
22
            CyboEnergy, Inc. (“CyboEnergy”) files this Motion to Dismiss Claims Asserted for U.S.
23
     Patent 9,331,489 (the “‘489 patent”). Plaintiff has conferred with counsel for Northern Electric
24
25 Power Technology, Inc. (“NEP”) and they are unopposed. The claim for infringement of U.S. Patent
26 No. 8,786,133 (“the ‘133 patent”) remains (referred to as the “Patent-in-Suit”).
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         Case 3:21-cv-08534-SI Document 39 Filed 06/24/22 Page 2 of 3




 1 Dated: June 24, 2022                 Respectfully submitted,

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     MOT. TO DISMISS CLAIMS FOR U.S. PAT. NO. 9,331,489 – CASE NO. 3:21-CV-08534-SI
          Case 3:21-cv-08534-SI Document 39 Filed 06/24/22 Page 3 of 3




 1
 2                                    CERTIFICATE OF SERVICE
 3          I hereby certify that on June 24, 2022, the foregoing document was filed electronically
 4
     through the Court’s Electronic Case Filing System. Service on this date of the public copy of this
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     document is being made upon all counsel of record in this case by the Notice of Electronic Filing
 6
     issued through the Court’s Electronic Case Filing System on this date.
 7
 8                                            /s/ Susan S.Q. Kalra
                                              Susan S.Q. Kalra
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     MOT. TO DISMISS CLAIMS FOR U.S. PAT. NO. 9,331,489 – CASE NO. 3:21-CV-08534-SI
